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    IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


 CONRAD SMITH, et al.,

                        Plaintiffs,

                 v.

 DONALD J. TRUMP, et al.,                             Civil Action No. 1:21-CV-02265-APM

                        Defendants.


    DECLARATION OF JOSHUA S. MARGOLIN IN SUPPORT OF PLAINTIFFS’
  OPPOSITION TO DEFENDANTS DONALD J. TRUMP’S, DONALD J. TRUMP FOR
  PRESIDENT, INC.’S, AND MAKE AMERICA GREAT AGAIN PAC’S MOTION TO
               STAY DISCOVERY AND OTHER PROCEEDINGS

        I, Joshua S. Margolin, declare as follows:

        1.      I am an attorney duly admitted to practice before the Courts of the State of New

York and admitted pro hac vice in the U.S. District Court for the District of Columbia, a member

and partner of the law firm of Selendy Gay Elsberg PLLC, and counsel for Plaintiffs in the above-

captioned matter. I make this Declaration in support of Plaintiffs’ Opposition to Defendants

Donald J. Trump’s, Donald J. Trump for President, Inc.’s, and Make America Great Again PAC’s

(“Moving Defendants”) Motion to Stay Discovery and Other Proceedings.

        2.      Attached as Exhibit 1 is a true and correct copy of a letter from Joshua S. Margolin,

counsel for Plaintiffs, to Jesse Binnall, counsel for the Moving Defendants, regarding Smith, et al.,

v. Trump, et al., 21-cv-2265-APM (D.D.C.), dated June 22, 2022. Counsel for Plaintiffs sent

identical copies of the letter attached as Exhibit 1 to each of the 18 Defendants who have appeared

in this case.
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       3.      Attached as Exhibit 2 is a true and correct copy of email correspondence between

Denae Kassotis, counsel for Plaintiffs, and Jesse Binnall, counsel for the Moving Defendants,

regarding Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.), dated July 21, 2022.

       4.      Attached as Exhibit 3 is a true and correct copy of email correspondence between

Denae Kassotis, counsel for Plaintiffs, and Jesse Binnall, counsel for the Moving Defendants,

regarding Smith et al., v. Trump et al., 21-cv-2265 (D.D.C.), dated August 1, 2022.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




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Dated:   August 10, 2022            Respectfully submitted,

                                    SELENDY GAY ELSBERG PLLC


                              By:     /s/         Joshua S. Margolin
                                    Joshua S. Margolin, pro hac vice
                                    SELENDY GAY ELSBERG PLLC
                                    1290 Avenue of the Americas
                                    New York, NY 10104
                                    Tel: 212-390-9000
                                    jmargolin@selendygay.com

                                    Attorney for Plaintiffs Conrad Smith, et al.




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